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                                                  UNITED STATES DISTRICT COURT
                                                     DISTRICT OF MINNESOTA


Carlton J. Edwards, individually and
on behalf of all other similarly situated
individuals,

                             Plaintiff,

v.                                                                       Case No. 0:10-cv-02826-MJD-JJK

Multiband Corporation,

           Defendant.
________________________________________________________________________

   PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S
   MOTION FOR CONDITIONAL CLASS CERTIFICATION AND COURT-
                         AUTHORIZED NOTICE
________________________________________________________________________

                                                               INTRODUCTION

              The cable and satellite industry is rampant with allegations of wage and hour

violations.1 The technicians are usually paid on a “piece rate basis,” receiving only the

                                                            
1
  See, e.g., Bowman v. New Vision Telecommc’ns, No. 09-cv-01115 (M.D. Tenn.)
(conditionally certifying a case involving W2 and 1099 technicians); Johnson v. ECT
Contracting, LLC., 2010 WL 625390, at *4 (M.D. Tenn. Feb. 18, 2010) (granting
conditional certification to DirecTV satellite installers); Monroe v. FTS USA, LLC, 257
F.R.D. 634, 639 (W.D. Tenn. 2009) (finding plaintiffs and the other cable installers were
similarly situated under the FLSA’s lenient notice standard); Brasfield v. Source
Broadband Servs., LLC, 255 F.R.D. 447 (W.D. Tenn. 2008) (granting nationwide
certification to all cable installers); Musarra v. Digital Dish, Inc., 2008 WL 818692, at *2
(S.D. Ohio Mar. 24, 2008) (finding conditional certification appropriate based on the
pleadings and affidavits submitted by the plaintiff satellite technicians); Kautsch v.
Premier Commc’ns, 504 F. Supp. 2d 685, 690 (W.D. Mo. 2007) (conditionally certifying
the case involving DirecTV satellite installer who were paid according to the same piece-
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amount of money that is assigned to each task or job they complete, and denied an

overtime premium for all of the overtime hours they work as a result of the defendant’s

unlawful compensation structure.

              This is an overtime lawsuit brought under the federal Fair Labor Standards Act

(“FLSA”) by satellite technicians who perform DirecTV installation and maintenance

work for Defendant Multiband Corporation (“Multiband”).                                                                                        Plaintiff alleges that

Multiband created a business model in which it contracted with small companies to give

the appearance of “clean hands” and avoid its obligations to pay its workforce properly

under the law.2 Multiband cannot have it both ways by obtaining the benefit of Plaintiffs’

work, but escaping the obligations of being their employer.

              Because the initial similarly situated inquiry does not engage in the merits of the

litigation, courts commonly certify cases as FLSA collective actions without deciding the

legal nature of the working relationship or whether the defendant in fact employed the

plaintiffs.3               Instead, the Court must simply determine whether Plaintiff has met his

                                                                                                                                                                                                
rate procedure, had the same work week and hourly schedule, and subject to the same
policies).
2
  According to Defendant, these contracting companies have employees and independent
contractors who perform Multiband’s installation and technician services. (Dkt. 19.)
Regardless of whether the contracting company issued the technicians a form W2 or a
1099 form, whether Multiband is their “employer” for purposes of the FLSA is the
common thread amongst all of the technicians, and is not a question for this Court at this
early stage.
3
  Courts around the country have routinely conditionally certified cases involving the
defendant’s status as an FLSA “employer” without deciding the merits of the case. See,
e.g., Johnson, 2010 WL 625390, at *1 (granting conditional certification to DirecTV
satellite installers who were classified as “independent contractors”); Harris v. Vector
Mktg. Corp., 2010 WL 1998768, at *5 (N.D. Cal. May 18, 2010) (conditionally
certifying a class because there was “no real dispute that the plaintiffs and putative class
                                                                                              2 
 
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burden to establish that there is a group of similarly situated workers who deserve to be

notified of this lawsuit.                                  Court-authorized notice should issue because Plaintiff has

unquestionably met this burden.

                                                              FACTUAL BACKGROUND
A.            The Parties

              Defendant Multiband Corporation (“Multiband”) is a domestic corporation with its

principal place of business in New Hope, Minnesota. (Compl. at 2, ¶ 4; Ans. at 2, ¶ 4.)

Multiband is in the business of installing and maintaining video services for DirecTV

satellite television subscribers. (Compl. at 2, ¶ 4; Ans. at 2, ¶ 4.) Multiband handles

approximately twenty percent (20%) of DirecTV’s installation, maintenance, and

upgrades for DirecTV subscribers. See http://www.multibandusa.com/home (last visited

Nov. 3, 2010). Multiband is the second largest full service Home Service Provider for

DirecTV, operating in approximately sixteen (16) states. (Compl. at 2, ¶ 4; Ans. at 2, ¶

4.)



                                                                                                                                                                                                
members performed the same duties and that the defendant categorically classified them
as independent contractors”); McCaffrey v. Mortg. Sources, Corp., 2009 WL 2778085, at
*3 (D. Kan. Aug. 27, 2009) (finding that the allegations in the complaint and the
supporting declarations suggest that plaintiffs who were loan officers treated as
independent contractors held similar positions and received no overtime pay); Labrie v.
UPS Supp. Chain Solutions, Inc., 2009 WL 723599, at *6 (N.D. Cal. Mar. 18, 2009)
(certifying a case consisting of 2500 “independent contractor” drivers who worked in 45
states); Houston v. URS Corp., 591 F. Supp. 2d 827, 834 (E.D. Va. Dec. 17, 2008)
(granting conditional certification because the plaintiffs had sufficiently alleged that they
were all classified as independent contractors rather than employees, and were paid in a
similar manner on a “per inspection basis”); Lima v. Int’l Catastrophe Solutions, 493 F.
Supp. 2d 793, 800 (E.D. La. June 27, 2007) (certifying a class of workers under the
lenient notice standard despite defendant’s arguments against being a joint employer).
                                                                                              3 
 
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              Multiband’s Home Service Provider segment includes approximately 2,000

technicians who perform satellite and maintenance services for the DirecTV subscribers.

(Compl. at 2, ¶ 4; Ans. at ¶ 2.) Named Plaintiff Carlton Edwards is one of these

technicians. (Compl. at 2, ¶ 3; Edwards Decl. ¶ 2.)4 Edwards worked as a satellite

technician for Multiband from approximately October 2008 until May 2010 through

Megatek, Inc., a small company that contracts with Multiband. (Edwards Decl. ¶ 2; Ans.

at 2, ¶ 3.) Edwards filed this lawsuit on behalf of himself and other “similarly situated”

individuals pursuant to § 216(b) of the Fair Labor Standards Act. (Compl. at 2, ¶ 5.)

Plaintiff and the similarly situated individuals worked as installers/technicians of

DirecTV satellite television services for Multiband at any time from three years prior to

the filing of the Complaint to the entry of judgment in this action. (Id.) As of the date of

this motion, nine (9) other satellite technicians have joined Edwards by filing opt-in

consent forms with this Court. (See Dkts. 3, 8, 9, 10, 13, 14, 15, 16, 17.)

              Edwards alleges that Multiband operated a scheme to avoid paying overtime

compensation to satellite technicians, workers who performed services essential to its

business operations. (Compl. at 3, ¶¶ 3, 4.) Edwards alleges that Multiband knew or

should have known that he and the similarly situated technicians were “employees”

within the meaning of the FLSA, § 203(d). (Id. at 2, ¶5.)




                                                            
4
 Named Plaintiff Carlton Edwards’s declaration is attached as Exhibit B to the
Declaration of Rachhana T. Srey.
                                                               4 
 
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B.            Satellite Technicians Perform Similar Job Duties and Are Paid the Same

              Edwards and the similarly situated individuals worked in the same job position as

a satellite technician. (See Compl.; Edwards Decl. ¶ 2; Bragg Decl. ¶ 2; Colvin Decl. ¶ 2;

D. Drewer Decl. ¶ 2; L. Drewer Decl. ¶ 2; Mark Decl. ¶ 2; Markwalter Decl. ¶ 2;

McClish Decl. ¶ 2; Smith Decl. ¶ 2.)5 A technician’s primary job responsibility is to

install, repair, or service satellite equipment for DirecTV’s subscribers. (Edwards Decl. ¶

3; Bragg Decl. ¶ 3; Colvin Decl. ¶ 3; D. Drewer Decl. ¶ 3; L. Drewer Decl. ¶ 3; Mark

Decl. ¶ 3; Markwalter Decl. ¶ 2; McClish Decl. ¶ 3; Smith Decl. ¶ 3.)                 Satellite

technicians share the same job duties and responsibilities regardless of their work

location or which of Multiband’s contracting companies they worked through. (Id.)

              All technicians are compensated in the same manner. Regardless of which state

they work in or which contracting company they work with, all technicians are paid on a

piece rate basis. (Edwards Decl. ¶ 6; Bragg Decl. ¶ 6; Colvin Decl. ¶ 6; D. Drewer Decl.

¶ 6; L. Drewer Decl. ¶ 6; Mark Decl. ¶ 6; Markwalter Decl. ¶ 6; McClish Decl. ¶ 6; Smith

Decl. ¶ 6.) Under the piece rate system, the satellite technicians are paid a certain amount

of amount of money for each type of service or job completed. (Id.) The piece rate

amount assigned to each task remains the same regardless of the number of hours the

technicians work. (Id.)


                                                            
5
  Richard Bragg, Dustin Drewer, Larry Drewer II, Quan Mark, Jack Markwalter, Kenny
McClish, and Joe Smith are § 216(b) “opt-in” plaintiffs. Jonathan E. Colvin is not an
opt-in plaintiff. He is a satellite technician who completed Multiband’s work orders in
south New Jersey area. (See Colvin Decl. ¶ 3.) These declarations are attached as
Exhibit C to the Declaration of Rachhana T. Srey.
                                                               5 
 
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C.            Multiband Schedules, Monitors, and Audits Technicians’ Work, and Subjects
              Technicians to Similar Policies and Procedures

              Plaintiff and the putative class members’ piece work is commonly scheduled and

dictated by Multiband. (Edwards Decl. ¶ 8; Bragg Decl. ¶ 8; Colvin Decl. ¶ 8; D. Drewer

Decl. ¶ 8; L. Drewer Decl. ¶ 8; Mark Decl. ¶ 8; Markwalter Decl. ¶ 8; McClish Decl. ¶ 8;

Smith Decl. ¶ 8.) Specifically, Multiband assigns specific timeframes in which Plaintiff

and the other technicians are required to complete each job and requires them to report to

their first job by a specific time each day. (Id.)

              Further, Multiband employs the same process and procedure for monitoring the

technicians during the workday. For example, all technicians are required to check in and

report to Multiband’s “trackers” or “dispatchers”6 in order for Multiband to keep track of

the technicians’ whereabouts and the status of their work orders.           (Edwards Decl. ¶ 8;

Bragg Decl. ¶ 8; Colvin Decl. ¶ 8; D. Drewer Decl. ¶ 8; L. Drewer Decl. ¶ 8; Mark Decl.

¶ 8; Markwalter Decl. ¶ 8; McClish Decl. ¶ 8; Smith Decl. ¶ 8.)

              Plaintiff and the putative class members have their work audited by Multiband to

ensure that they are completing their work according to company policies and procedures

and may be subjected to “back charges” or deductions for a variety of reasons. (Compl.

¶ 5; Edwards Decl. ¶ 9; Bragg Decl. ¶ 9; Colvin Decl. ¶ 9; D. Drewer Decl. ¶ 9; L.

Drewer Decl. ¶ 9; Mark Decl. ¶ 9; Markwalter Decl. ¶ 9; McClish Decl. ¶ 9; Smith Decl.

¶ 9.)           In addition to following company specifications for their actual piece rate jobs,

                                                            
6
  Multiband describes the job duties of a tracker/dispatcher as assisting installation
technicians with information on work orders and tracking their status and location
throughout the day. (Ex. D.)
                                                               6 
 
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technicians are also subjected to other company requirements. For example, technicians

are required to attend training sessions at Multiband’s offices and/or attend meetings to

remain updated on policies and procedures. (Edwards Decl. ¶ 5; Bragg Decl. ¶ 5; Colvin

Decl. ¶ 5; D. Drewer Decl. ¶ 5; L. Drewer Decl. ¶ 5; Mark Decl. ¶ 5; Markwalter Decl. ¶

5; McClish Decl. ¶ 5; Smith Decl. ¶ 5.)

D.       Technicians Work Long Hours Without Overtime Compensation

         As a satellite technician, Plaintiff and the putative class members work similar

schedules. Indeed, they are regularly scheduled to work six days per week, putting in

well over forty (40) hours during the workweek. (Edwards Decl. ¶ 7; Bragg Decl. ¶ 7;

D. Drewer Decl. ¶ 7; L. Drewer Decl. ¶ 7; Mark Decl. ¶ 7; McClish Decl. ¶ 7; Smith

Decl. ¶ 7.)

         Despite working these long hours, technicians receive no overtime compensation.

(Id.)    Finally, because of these long hours, the work orders Plaintiff and the other

technicians completed are exclusively Multiband’s work orders. (Edwards Decl. ¶ 10;

Bragg Decl. ¶ 10; Colvin Decl. ¶ 10; D. Drewer Decl. ¶ 10; L. Drewer Decl. ¶ 10; Mark

Decl. ¶ 10; Markwalter Decl. ¶ 10; McClish Decl. ¶ 10; Smith Decl. ¶ 10.) Plaintiff and

the putative class members did not perform their satellite technician services for any

company other than Multiband. (Edwards Decl. ¶ 7; Bragg Decl. ¶ 7; Colvin Decl. ¶ 7;

D. Drewer Decl. ¶ 7; L. Drewer Decl. ¶ 7; Mark Decl. ¶ 7; Markwalter Decl. ¶ 7;

McClish Decl. ¶ 7; Smith Decl. ¶ 7.)




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                                                               ARGUMENT

I.            THE COURT SHOULD GRANT PLAINTIFF’S MOTION FOR
              CONDITIONAL CLASS CERTIFICATION AND COURT-AUTHORIZED
              NOTICE

              Plaintiff seeks conditional class certification and court-authorized notice in this

collective action pursuant to the FLSA, 29 U.S.C. § 216(b). The FLSA specifically

contemplates employees pursuing their claims collectively:

              [an] action . . . may be maintained against any employer . . . in any Federal
              or State court of competent jurisdiction by any one or more employees for
              and in behalf of himself or themselves and other employees similarly
              situated. No employee shall be a party plaintiff to any such action unless
              he gives his consent in writing to become such a party and such consent is
              filed in the court in which such action is brought.

29 U.S.C. § 216(b) (emphasis added);7 see Burch v. Qwest Commc’ns Int’l, 500 F. Supp.

2d 1181, 1190 (D. Minn. 2007) (permitting plaintiffs to proceed collectively through

discovery because the standard for similarly situated “is low” and plaintiffs had submitted

affidavits from different states alleging the same unlawful practices).

                                                            
7
  The District of Minnesota routinely conditionally certifies FLSA collective actions.
See, e.g., Lyons v. Ameriprise Fin., Inc., 2010 WL 3733565, at *1 (D. Minn. Sept. 20,
2010); Luiken v. Domino’s Pizza, LLC, 2010 WL 2545875, at *1 (D. Minn. June 21,
2010); Ahle v. Veracity Research Co., 2009 WL 3103852, at *1 (D. Minn. Sept. 23,
2009); Loomis v. CUSA LLC, 257 F.R.D. 674 (D. Minn. 2009); Keef v. M.A. Mortenson
Co., 2008 WL 3166302, *2 (D. Minn. Aug. 4, 2008); Brennan v. Qwest Commc’ns Int’l,
Inc., 2008 WL 819773, *3 (D. Minn. Mar. 25, 2008); Roble v. Celestica Corp., 2007 WL
2669439, *4 (D. Minn. Sept. 6, 2007); Dominquez v. MN Beef Indus., Inc., 2007 WL
2422837, *2 (D. Minn. Aug. 21, 2007); Dege v. Hutchinson Tech., Inc., 2007 WL
586787, *4 (D. Minn. Feb. 22, 2007); Frank v. Gold’n Plump Poultry, Inc., 2005 WL
2240336, *5 (D. Minn. Sept. 14, 2005); Kalish v. High Tech Inst., Inc., 2005 WL
1073645, *1 (D. Minn. Apr. 22, 2005); Abduallah v. Bank of Am., No. 04-2951, Order
dated Jan. 20, 2005 (D. Minn.); Wilbur v. Chase Manhattan Mortg., No. 04-3172, Order
dated Dec. 22, 2004 (D. Minn.); Severtson v. Phillips Beverage Co., 141 F.R.D. 276, 279
(D. Minn. 1992).
                                                                  8 
 
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       Three important features define FLSA collective actions.            First, in order to

participate in a collective action, an employee must “opt in,” meaning he or she must

consent in writing to join the suit and their consent must be filed with the court. Lyons,

2010 WL 3733565, at *2. Second, the statute of limitations runs on each employee’s

claim until his or her consent to opt in is filed with the court. See Kalish v. High Tech

Inst., Inc., 2005 WL 1073645, at *3, n.1 (D. Minn. Apr. 22, 2005) (noting that the statute

of limitations for § 216(b) collective action claims is not tolled until the individual files a

written consent to opt-in to the lawsuit) (citing Grayson v. K Mart Corp., 79 F. 3d 1086,

1106 (11th Cir. 1996)). Third, to serve the FLSA’s “broad remedial purpose,” district

courts have the discretionary power to order notice to other potentially similarly situated

employees to inform them of their right to opt in to the case. Hoffmann-La Roche, 493

U.S. at 173; see also Luiken, 2010 WL 2545875, at *3.

       Court-supervised notice is the preferred method for managing the notification

process for several reasons: (1) it avoids a “multiplicity of duplicative suits”; (2) it allows

the court to set deadlines to advance the disposition of an action; (3) it furthers the

“wisdom and necessity for early judicial intervention” in multi-party actions; (4) it

prevents plaintiffs’ claims from expiring under the statute of limitations; and (5) it

ensures that the plaintiffs receive accurate and timely notice so they can make an

informed decision on whether to join the suit. Hoffmann-La Roche, 493 U.S. at 170-173;

see also Luiken, 2010 WL 2545875, at *3 (recognizing that judicial notice will promote

judicial economy by minimizing the proliferation of individual lawsuits). Ultimately, the

purpose of judicial notice is to give employees accurate and timely notice of a pendency

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of the collective action so they can make an informed decision about whether to

participate. Hoffmann-La Roche, 493 U.S. at 170.

      A.     The First Stage “Similarly Situated” Standard Is Low

      Like most other courts around the country, this Court follows the body of case law

adopting an ad-hoc two-step approach in determining whether a case should be certified

as a collective action under § 216(b). See, e.g., Burch, 500 F. Supp. 2d at 1186; Lyons,

2010 WL 3733565, at *2; Luiken, 2010 WL 2545875, at *2.

      Having undertaken the first stage’s similarly situated analysis on multiple

occasions, this Court is well aware that this is the notice stage, and that the Court is

determining whether a collective action should be certified for the purpose of sending

judicial notice and conducting discovery. Burch, 500 F. Supp. 2d at 1186. “At this

conditional certification stage, the plaintiffs need only come forward with evidence

establishing a colorable basis for their claim that the putative class members were

together victims of a single decision, policy, or plan.” Burch, 500 F. Supp. 2d at 1186;

Frank, 2005 WL 2240336, at *2 (citing Severtson v. Phillips Beverage Co., 137 F.R.D.

264, 267 (D. Minn. 1991)).

      “Because the court has minimal evidence, this determination is made using a fairly

lenient standard, and typically results in ‘conditional certification’ of a representative

class.” Burch, 500 F. Supp. 2d at 1190 (recognizing that the first stage notice standard is

“low”); Loomis, 257 F.R.D. 676; Dominquez v. Minn. Beef Indus., Inc., 2007 WL

2422837, at *2 (D. Minn. Aug. 21, 2007) (quoting Hipp v. Liberty Nat’l Life Ins. Co.,

252 F.3d 1208, 1218 (11th Cir. 2001)). At the conditional certification stage, each

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plaintiff’s employment circumstances need not be identical. Burch, 500 F. Supp. 2d at

1187 (concluding that at the conditional certification stage, plaintiffs are not required to

provide evidence that they are identically situated to putative class members in all

respects); Loomis, 257 F.R.D. 674, 677 n.4; In re RBC Rauscher Overtime Litig., 703 F.

Supp. 2d 910, 963 (D. Minn. Mar. 31, 2010). Courts usually rely on the pleadings and

any affidavits submitted by the plaintiffs in granting conditional certification. See Dege,

2007 WL 586787, at *2 (D. Minn. Feb. 22, 2007) (“Plaintiffs’ affidavits establish a

colorable basis for their claim that the putative class members were victims of a common

practice of not compensating employees[.]”); Brennan, 2008 WL 819773, at *3 (relying

on the plaintiffs’ affidavits and allegations in granting conditional certification). No

factual findings or credibility determinations are made in deciding whether conditional

certification should be granted. Burch, 500 F. Supp. 2d at 1186; Dominquez, 2007 WL

2422837, at *3.

       After discovery is complete and the case is ready for trial, the court may then

make a second determination as to whether plaintiffs are similarly situated, usually

precipitated by the defendant’s motion for decertification. Loomis, 257 F.R.D. at 676.

At this second stage, the Court has much more information upon which to make its

decision and can make a factual determination based on the complete record. Burch, 677

F. Supp. 2d at 1113; Loomis, 257 F.R.D. at 676.




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       B.     Plaintiff Has Met the “Similarly Situated” Standard Required at This
              Early Stage of the Litigation

       This case is in the very early stages. Indeed, despite having been filed many

months ago, little discovery has occurred in the case.         Through the allegations in

Plaintiff’s Complaint and the declarations submitted to support these allegations, Plaintiff

has clearly provided a sufficient basis for this Court to conclude that he and putative class

members are “similarly situated.” All satellite technicians hold the same job position,

share the same job responsibilities, and are paid in the same manner (i.e. by piece rate).

No technicians have been paid overtime compensation for any of their overtime hours

worked as a result of Multiband’s attempt to insulate itself from liability by placing a

middleman between it and the technicians.

       Further, all technicians are subject to the similar company policies and procedures.

For example, technicians are required to remain in constant communication with

Multiband throughout the course of their workday in order for the company to keep tabs

on the technicians’ location and status of their work orders. Technicians are also required

to train with and attend meetings with Multiband to remain updated on the company’s

policies and procedures.      Multiband schedules and audits the technicians’ work,

subjecting them to back charges if their work does not meet its standards. Based on the

evidence, Plaintiff has identified a group of similarly situated workers who are entitled to

be promptly notified of this lawsuit. This Court should grant his motion.




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       C.     Factors Outside the “Similarly Situated” Analysis Should Not Be
              Considered at this Notice Stage

       Plaintiff anticipates that Multiband will raise arguments against court-authorized

notice that have been, and should be, soundly rejected by this Court. For example,

Multiband will likely challenge Plaintiff’s motion by arguing the merits of his claims.

Merits-based arguments, however, are not considered at conditional certification. Burch,

500 F. Supp. 2d at 1186 (citing Dege, 2007 WL 586787, at *1); Lyons, 2020 3733565, at

*4 (refusing to consider argument concerning the merits of plaintiff’s claims on a motion

for conditional certification). Multiband may also contend that determining whether

Defendant is Plaintiff’s or the other technicians’ “employer” is an “individualized

inquiry” that should preclude conditional certification.         But, again, whether an

individualized inquiry will be needed to determine the merits of Plaintiff and the putative

class members’ overtime claims is not considered at this stage. See Dominguez, 2007

WL 2422837, at *3 (“[defendant’s] arguments concerning ‘the individualized inquiries

required and the merits of Plaintiff’s claims are inappropriate at this [first] stage of the

proceeding”); Brennan, 2008 WL 819773, at *4 (rejecting the defendant’s argument that

plaintiffs were not similarly situated because of the “individualized determinations”); see

also Harris, 2010 WL 1998768, at *6 (concluding that arguments about whether

individualized inquiries about the level of control actually exercised under the economic

realities test are better addressed at second stage certification); Labrie, 2009 WL 723599,

at *6 (rejecting defendant’s arguments about individualized inquiries on control factor in

an independent contractor case because they go to the merits and are more appropriate for


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a motion to decertify or summary judgment); McCaffrey, 2009 WL 2778085, at *4

(refusing to reach the merits of plaintiffs’ claims that they were employees, not

independent contractors on their motion for conditional class certification).

       In sum, the case before this Court is one of those “appropriate” cases the Supreme

Court contemplated when it authorized district courts to exercise discretion to manage the

process of joining multiple parties in an FLSA lawsuit. See Hoffmann-La Roche Inc. v.

Sperling, 493 U.S. 165, 169 (1989); see also Luiken, 2010 WL 2545875, at *3. Because

Plaintiff has met his similarly situated burden, and because judicial economy is better

served by court-authorized notice, this Court should grant Plaintiff’s motion to issue

court-authorized notice.

II.    CONTENT, FORM, METHOD, AND INFORMATION NECESSARY FOR
       NOTICE.

       While the Supreme Court confirmed the existence of the trial court’s discretion to

implement § 216(b) in appropriate cases, it declined to rule on the details of its exercise,

leaving it up to the trial courts to prescribe the terms and conditions of any

communication from the named plaintiffs to the potential members of the class on whose

behalf an FLSA collective action has been brought.           Hoffmann-La Roche Inc. v.

Sperling, 493 U.S. 165, 169-170 (1989).

       “Section 216(b)’s affirmative permission for employees to proceed on behalf of

those similarly situated must grant the court the requisite procedural authority to manage

the process of joining multiple parties in a manner that is orderly, sensible, and not

otherwise contrary to statutory commands or the provisions of the Federal Rules of


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Civil Procedure.” Id. at 171 (emphasis added). Once Plaintiff filed this case in July

2010, this Court had the managerial responsibility to oversee the joinder of additional

parties to assure that the task is accomplished in an efficient and proper way. Id. at 172.

“By monitoring preparation and distribution of the notice, a court can ensure that it is

timely, accurate, and informative.” Id.

        As shown above, all satellite technicians who have performed installation and

maintenance services for Multiband through the various small contracting companies

within the last three years are “similarly situated” for purposes of the FLSA. Thus, court-

authorized notice should issue to them. Plaintiff has attached an accurate an informative

proposed notice to this memorandum. (See Ex. A.) This Court should adopt Plaintiff’s

proposed notice and require Multiband to disclose the identities and contact information

of these technicians to Plaintiff and his counsel in order to carry out the notice process.

Production of a mailing list of all potential class members is routinely disclosed in FLSA

collective actions that are conditionally certified. Id. at 165; Burch, 500 F. Supp. 2d at

1191.      This list of putative class members should contain the last known contact

information for each putative class member, including for each individual his/her name,

last known address, telephone number, location of employment, identification of

“contracting company,” and technician identification number.

        The benefits of a collective action—lower individual costs and efficient resolution

of common issues of law and fact in one action—are furthered by not only a court-

authorized notice being mailed, but also by posting the notice at Multiband’s various field

offices.    Accordingly, the Court should also require Multiband to post the notice at its

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various field offices around the country. See Johnson v. ECT Contracting, LLC, No. 09-

0130 (M.D. Tenn. Feb. 18, 2010) (ordering the defendant to post notice and include the

notice in the alleged “independent contractors” next paycheck);8 Garcia v. Salamanca

Group, 2008 WL 818532, at *5 (N.D. Ill. Mar. 24, 2008) (authorizing notice to be sent by

mail and posted at defendant’s restaurants); Romero v. Producers Dairy Foods, Inc., 235

F.R.D. 474, 493 (E.D. Cal. 2006) (finding that first class mail combined with posting

provided for the “best notice practicable” to the potential class); Veliz v. Cintas, Corp.,

2004 WL 2623909, at *2 (N.D. Cal. Nov. 12, 2004) (requiring employer to post notice

and consent forms in all of its work sites).

              Finally, the Court should permit Plaintiff to send reminder letters to the putative

class members before the opt-in deadline expires. Sending reminder letters serves both to

remind those persons who wish to join to do so within the notice period and to ensure that

those whose notices were misplaced, not received, or opened still have a fair opportunity

to join. Reminder letters, moreover, will lower the number of late opt-ins, thus reducing

the burden on the Court in deciding whether late opt-ins should be allowed to join. See

e.g., Harris v. Vector Mktg. Corp., 2010 WL 1998768 (N.D. Cal. May 18, 2010) (order

granting conditional certification and finding the mailing of a reminder notice to be

appropriate); Oliver v. Aegis Commc’ns Group, Inc., 2008 WL 7483891, at *4 (N.D.

Tex. Oct. 30, 2008) (order granting conditional certification and allowing plaintiffs’

counsel to send subsequent notices during the notice period).

                                                            
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  The Johnson Order outlining the procedure to follow in carrying out notice is attached
as Ex. E.
                                                               16 
 
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       Defendant suffers no prejudice by ensuring putative class members receive timely

notice, giving them a fair opportunity to join the case in a timely manner. There is no

cost to Defendant and no delay to the disposition of this matter if putative class members

are reminded of the deadline to join. Simply put, reminder letters should be permitted

because they are a sensible efficient way of informing recipients of the notice of the

approaching deadline.

                                      CONCLUSION

       Having previously decided numerous conditional certification motions, this Court

is well-versed on standard applied at the first step of the § 216(b) similarly situated

analysis.   Through his Complaint, and supporting declarations, Plaintiff has easily

established a “colorable basis” for his claim that there is a group of technicians who are

victims of the same common business plan that was designed to avoid payment of

overtime.   As such, Plaintiff respectfully requests this Court to: (1) authorize this case to

proceed as a collective action for purposes of notice and discovery; 2) order Defendant to

identify all satellite technicians who performed work for Multiband through a contracting

company during the applicable statutory period; and (3) authorize the issuance of

Plaintiff’s proposed notice to be mailed by Plaintiff’s counsel to all potential opt-in

plaintiffs, require Multiband to post the notice at its field offices, and permit Plaintiff to

send subsequent reminder letters.




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Dated: November 5, 2010           NICHOLS KASTER, PLLP
                                  s/ Rachhana T. Srey
                                  Paul J. Lukas, MN Bar No. 22084X
                                  Rachhana T. Srey, MN State Bar No. 340133
                                  4600 IDS Center, 80 South 8th Street
                                  Minneapolis, MN 55402
                                  Telephone (612) 256-3200
                                  Fax (612) 215-6870

                                  &

                                  DONATI LAW FIRM, LLP

                                  William B. Ryan, TN Bar # 20269
                                  (Admitted Pro Hac Vice)
                                  Bryce Ashby, TN Bar #026179
                                  (Admitted Pro Hac Vice)
                                  1545 Union Avenue
                                  Memphis, TN 38104
                                  Telephone: (90) 278-1004
                                  Fax: (901) 278-3111


                                  ATTORNEYS FOR PLAINTIFF AND  THOSE
                                  SIMILARLY SITUATED




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